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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF KANSAS


  UNITED STATES OF AMERICA

                    Plaintiff,




   vs.                                                               Case No. 18-10099-EFM-KGG-1

  BRADLEY A. PISTOTNIK,

                    Defendant.




                                     MEMORANDUM AND ORDER

         This matter comes before the Court on Defendant Bradley Pistotnik’s Motion for

Reconsideration of the Magistrate Judge’s Memorandum and Order granting in part and denying

in part a motion to quash that was filed by nonparties Xcentric Ventures, LLC (“Xcentric”) and

Chandler Automated Systems (“Chandler”). For the reasons the Court explains below, Pistotnik’s

Motion for Reconsideration (Doc. 71) is granted in part and denied in part.

                              I.       Factual and Procedural Background

         The Government alleges that Pistotnik, together with his co-defendant, David Dorsett,

threatened to cause damage to Xcentric’s computer systems by targeting a website Xcentric owns

and operates: www.Ripoffreport.com (“Ripoffreport”).1 Ripoffreport allows consumers to post


         1
           The Indictment alleges 10 Counts total. Count 1 alleges that Dorsett and Pistotnik threated the computer
systems of Leagle.com (“Leagle”)—an entity that has no interest in the matter now before the Court. Counts 2 and 4
relate to the threats against Ripoffreport. Counts 3 and 5 relate to threats against the law offices of Jaburg Wilk,
Ripoffreport’s legal counsel. Counts 6 and 7 allege that Dorsett and Pistotnik conspired to commit the crimes alleged
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anonymous reports detailing ways in which they have been wronged by different businesses.

Ripoffreport has a general policy against releasing its users’ identities and against removing any

of the posted reports from its site.

        Sometime around September 2014, a negative report about Pistotnik (“the Report”) was

posted to Ripoffreport. The Government alleges that Pistotnik and Dorsett sent Ripoffreport

threatening messages via an “email bomb”—a large quantity of emails designed to overwhelm the

recipient’s digital infrastructure—stating that if Ripoffreport removed the Report from its site, the

onslaught of emails would end. But if the Report was not removed, the harassing emails would

continue and Ripoffreport’s advertisers would also be targeted. The first “email bomb” attack was

sent in September 2014, and Ripoffreport capitulated to the sender’s demands by removing the

Report from its site. Within months, the Report was reposted to Ripoffreport. In July 2015,

Ripoffreport was bombarded with a second series of threatening emails.

        After the Government brought its charges, Pistotnik served subpoenas duces tecum on

Xcentric and Chandler, a company providing cyber security and IT services to Xcentric.

Pistotnik’s subpoenas requested documents relating to, among other things, the Report’s

authorship, Xcentric’s damages from the attack, and Xcentric’s cyber-defense infrastructure. In

total, the subpoena to Xcentric included 15 paragraphs of subpoenaed documents, and the

subpoena to Chandler included eight paragraphs of subpoenaed documents. Before serving his

subpoenas, Pistotnik filed a motion seeking authorization to serve his subpoenas on Xcentric and

Chandler, as well as on other parties. This Court contacted Pistotnik’s counsel by phone and




in Counts 1-5. Counts 8-10 apply only to Pistotnik and allege that Pistotnik provided false statements to the FBI in
an interview discussing the events related to Counts 1-7.



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informed him that he did not need the Court’s further permission to issue the subpoenas;2 the Court

subsequently entered an order denying Pistotnik’s motion as moot.

        Xcentric and Chandler filed a motion to quash both subpoenas. That motion was referred

to the Magistrate Judge assigned to the case, who granted it in part and denied it in part. Pistotnik’s

Motion for Reconsideration now before the Court requests review of the Magistrate Judge’s order.

On May 6, 2019, the Court heard oral argument on Pistotnik’s Motion. At this hearing, Pistotnik

informed the Court that he was withdrawing any objection to the Magistrate Judge’s order granting

the motion to quash Paragraphs 3 and 6–8 in the Xcentric Subpoena. Pistotnik maintained his

objections to the Magistrate Judge’s order granting the motion to quash Paragraphs 1, 2, and 9–15

of the Xcentric subpoena and Paragraphs 1–8 of the Chandler subpoena.

                                           II.      Legal Standard

         The Court reviews the Magistrate Judge’s order under a clearly erroneous standard.

Pursuant to Fed. R. Crim. P. § 59(a):

        A district judge may refer to a magistrate judge for determination any matter that
        does not dispose of a charge or defense. The magistrate judge must promptly
        conduct the required proceedings and, when appropriate, enter on the record an oral
        or written order stating the determination. A party may serve and file objections to
        the order within 14 days after being served with a copy of a written order or after
        the oral order is stated on the record, or at some other time the court sets. The
        district judge must consider timely objections and modify or set aside any part of
        the order that is contrary to law or clearly erroneous. Failure to object in
        accordance with this rule waives a party’s right to review. (Emphasis added).




        2
          The Court concedes that this process was not technically correct under the circumstances and created some
confusion in the case.



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                                          III.   Analysis

       In United States v. Nixon,3 the Supreme Court held that to obtain documents under a Rule

17 subpoena, the party seeking the documents must demonstrate:

       (1) that the documents are evidentiary and relevant; (2) that they are not otherwise
       procurable reasonably in advance of trial by exercise of due diligence; (3) that the
       party cannot properly prepare for trial without such production and inspection in
       advance of trial and that the failure to obtain such inspection may tend unreasonably
       to delay the trial; and (4) that the application is made in good faith and is not
       intended as a general fishing expedition.4

Put another way, three obstacles must be overcome before issuing a subpoena under Rule 17:

relevancy, admissibility, and specificity.5 A party that has been served a subpoena may move the

court “[to] quash or modify the subpoena if compliance would be unreasonable or oppressive.”6

Additionally, “a subpoena requiring the production of personal or confidential information about

a victim may be served on a third party only by court order.”7

       Here, Pistotnik raises several objections to the Magistrate Judge’s order partially granting

the motion to quash Pistotnik’s subpoenas served on Xcentric and Chandler. The gravamen of

Pistotnik’s Motion is his objection to the Magistrate Judge’s holding that the identity of the

Report’s author is not relevant under Nixon. Pistotnik also argues that the Magistrate Judge erred

in holding that information about Xcentric’s cyber-defenses is not relevant under Nixon. Finally,

Pistotnik objects to the Magistrate Judge’s conclusion that Pistotnik disregarded Rule 17’s



       3
           418 U.S. 683 (1974).
       4
           Id. at 699-700.
       5
           Id. at 700.
       6
           Fed. R. Crim. P. § 17(c)(2).
       7
           Fed. R. Crim. P. § 17(c)(3).



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requirement that he obtain Court permission prior to serving his subpoenas, arguing that this

misunderstanding permeates the Magistrate Judge’s order and resulted in the court quashing

significant portions of both subpoenas that would otherwise have been allowed.

A.       Relevance of the Report’s authorship

         Pistotnik objects to the Magistrate Judge’s determination that Paragraphs 1 and 2 of the

Xcentric subpoena—seeking documents concerning the Report’s authorship8—failed to overcome

Nixon’s relevancy hurdle. Pistotnik makes the initial argument that the Magistrate Judge’s

relevancy standard was impermissibly high. Pistotnik then provides two ways in which the

Report’s authorship should be deemed relevant. First, assuming Pistotnik’s co-defendant Dorsett

is the author of the Report, Pistotnik would introduce “Reverse 404(b)” evidence against Dorsett.

Second, Pistotnik would use the authorship of the Report to impeach Dorsett’s testimony.

         1.       Relevancy standard

         Pistotnik argues that the Magistrate Judge improperly held that evidence is only relevant if

it would serve as an absolute defense to the crimes charged. The Court disagrees with this

characterization of the Magistrate Judge’s order. The Court reads the Magistrate Judge’s order as

stating that regardless whether Dorsett authored the Report, baited Pistotnik into committing the

crime, or solicited Pistotnik’s business, such evidence would have no bearing on Pistotnik’s

criminal liability. The issue was not whether the Report’s authorship would completely exonerate



         8
             Paragraph 1 subpoenaed “all author information for [the Report].” Paragraph 2 subpoenaed “[a]ll
Documents containing data collected in connection with the creation of [the Report] whether that data was submitted
by the author of that report or was otherwise collected in connection with the creation or submission of such report.
This includes all server logs, application logs, reports, analytics, counters, or other Documents that may contain
information about either [the Report] or the user who created the report.” Paragraph 3 also subpoenaed documents
relating to the Report, but Pistotnik concedes that Paragraph 3 does not meet Nixon’s specificity requirement and does
not object to the Magistrate Judge’s decision to quash that request.



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Pistotnik but whether it had any connection to Pistotnik’s alleged crimes. The Magistrate Judge

held that it did not. Nothing in the Magistrate Judge’s Order indicates that the court reached this

decision using an improperly narrow relevancy standard.

       2.         Reverse 404(b) evidence

       Pistotnik argues that the Report’s authorship is relevant as “reverse 404(b)” evidence.

“Rule 404(b) is typically used by prosecutors seeking to rely on a criminal defendant’s prior bad

acts as proof of ‘motive, opportunity, intent, preparation, plan, knowledge, identity, or absence of

mistake or accident’ in the crime charged.”9 Rule 404(b), however, may also be used by

defendants to introduce “evidence of wrongs, acts, or crimes . . . for defensive purposes if it tends,

alone or with other evidence, to negate the defendant’s guilt of the crime charged against

him.”10 “Such evidence is often referred to as ‘reverse 404(b).’ ”11 The admissibility of reverse

404(b) evidence “depends on a straightforward balancing of the evidence’s probative value against

considerations such as undue waste of time and confusion of the issues.”12 In most cases the

probative value of reverse 404(b) evidence will be slight “as it may just amount to pointing a finger

at someone else who, having a criminal record, might have committed the crime the defendant is

accused of committing.”13 Ordinarily, “the person against whom the evidence is being offered is

not a party to the case and, therefore, will not be unfairly prejudiced if the evidence is admitted.”14



       9
           United States v. Montelongo, 420 F.3d 1169, 1174 (10th Cir. 2005).
       10
            United States v. Cook, 2019 WL 336948, at *8 (10th Cir. 2019) (citations and quotation omitted).
       11
            Id.
       12
            Montelongo, 420 F.3d at 1174 (citations and quotations omitted).
       13
            Cook, 2019 WL 336948, at *8 (citation omitted).
       14
            Rivera v. Rivera, 262 F. Supp. 2d 1217, 1225 (D. Kan. 2003) (citation omitted).



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        Here, Pistotnik alleges in some detail Dorsett’s modus operandi as a con artist, including a

history of creating false negative reviews that he could then offer to remove for a price, and a

history of committing email cyberattacks similar to what was alleged here. Pistotnik argues that

if Dorsett was the Report’s author, this would show that Dorsett targeted Pistotnik by creating a

problem (posting the negative report) and then offering to fix that problem. Pistotnik theorizes

that Dorsett’s plan was to ingratiate himself with Pistotnik to secure a financial investment for one

of Dorsett’s business projects. But the events that led Dorsett to reach out to Pistotnik are merely

prologue. Dorsett’s authorship—assuming he was the Report’s author—may offer insight into

Dorsett’s plans, but it has no effect on Pistotnik’s alleged role in the cyberattack against Xcentric.

As the Magistrate Judge correctly noted: if Pistotnik intentionally targeted Xcentric, he is still

culpable even if Dorsett “baited” him into committing these crimes. Ultimately, Pistotnik’s guilt

or innocence must be determined by his own actions. Evidence that Dorsett created the Report

has no tendency to prove that Pistotnik was not involved in the attack on Xcentric. Instead, the

Court agrees with the Government’s position that introducing evidence of authorship is likely to

confuse the jury.

        3.       Impeachment evidence

        Pistotnik raises a separate argument that the Report’s authorship is relevant for

impeachment purposes. Pistotnik asserts that after reviewing the Government’s evidence, “the

sole source of proof that Mr. Pistotnik sent the threats contained in Counts 1–5 are the words of

David Dorsett.”15 Because Dorsett denied he was the Report’s author in an interview with the FBI,


         15
            Pistotnik also objects to the Magistrate Judge limiting his analysis of the Report’s relevancy to the
conspiracy charges, without discussing the relevancy of the Report’s authorship to the charges in Counts 1–5.
However, the Magistrate Judge was simply addressing the arguments that Pistotnik raised in his Response to the
Motion to Quash. There, Pistotnik argued that proving Dorsett’s authorship “tends to disprove any conspiracy.” (Doc.
54 at 12). Indeed, it appears that Pistotnik’s impeachment argument was never raised with the Magistrate Judge and


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Pistotnik argues that evidence that Dorsett was the author could be used to impeach Dorsett,

discrediting the Government’s only evidence implicating Pistotnik in Counts 1–5.

         Although the Government disputes Pistotnik’s contention that the only direct evidence of

Pistotnik’s involvement in Counts 1–5 is the testimony of Dorsett,16 this point is ultimately

immaterial because “[g]enerally, prior to trial, impeachment materials may not be obtained through

a Rule 17(c) subpoena because such materials fail Nixon’s admissibility requirement.”17 Indeed,

“impeachment evidence only ripens into admissible evidence after the witness has presented direct

testimony at trial.”18 The Court holds that Pistotnik cannot use Rule 17(c) to obtain documents

about the Report’s authorship for the sole purpose of impeaching Dorsett. Therefore, the ruling of

the Magistrate Judge with respect to Paragraphs 1 and 2 of the Xcentric subpoena was not clearly

erroneous.

B.       Documentation underlying Xcentric’s damages

         Paragraphs 4 and 5 of the Xcentric subpoena sought documents relating to the effects of

the two cyberattacks and Xcentric’s response to the attacks, including any mitigation,




first appeared in Pistotnik’s Motion for Reconsideration. Nevertheless, the Court will now address Pistotnik’s
argument that the Report’s authorship is relevant as impeachment evidence.
         16
            The Government states that it has provided “considerable direct evidence of Pistotnik’s involvement in the
attacks,” pointing to the following: Pistotnik emailed Dorsett a link to the Report and asked “how do we get rid of
it?”; Pistotnik spoke on the phone with a representative of Jaburg Wilk, in which he denies any knowledge of the
attack despite sending Dorsett the email asking how to get rid of the Report a few days earlier; Dorsett sent an invoice
to Pistotnik for $2,050 for “Reputation Management” that specifically mentioned Leagle.com and Ripoffreport.com;
Pistotnik then wrote a check to Dorsett for $2,050.
         17
            United States v. Wittig, 250 F.R.D. 548, 553 (D. Kan. 2008) (citation omitted); see also United States v.
Holihan, 248 F. Supp. 2d 179, 183 (W.D.N.Y. 2003) (citing United States v. Hughes, 895 F.2d 1135, 1146 (6th Cir.
1990)) (“Evidence sought only to impeach a government witness, however, is not subject to production by a third
party in response to a Rule 17(c) subpoena.”); United States v. Cherry, 876 F. Supp. 547, 553 (S.D.N.Y. 1995)
(“[D]ocuments are not evidentiary for Rule 17(c) purposes if their use is limited to impeachment.”).
         18
              Wittig, 250 F.R.D. at 554.



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troubleshooting, investigatory, or remedial steps they took. The Magistrate Judge denied the

motion to quash Paragraphs 4 and 5, stating:

       The Court reads [Paragraphs] 4 and 5 as seeking documentation underlying
       Xcentric’s claimed damages. [Pistotnik] has included a copy of Xcentric’s invoice
       for $72,261.50 in its responsive brief. . . . [Pistotnik] is now merely requesting
       backup information on this particular invoice. The underlying documentation of
       the victim’s damages is relevant—and to the extent that [Paragraphs] 4 and 5 intend
       to seek such documents, the requests are relevant.

       The Magistrate Judge, however, granted the motion to quash Paragraphs 10 and 12–14.

Pistotnik argues that Paragraphs 10 and 12–14 relate to Xcentric’s damages and should therefore

be treated as subsets of Paragraphs 4 and 5, which the Magistrate Judge did not quash. Thus,

Pistotnik argues that it was clearly erroneous for the Magistrate Judge to deny the motion to quash

Paragraphs 4 and 5 but then grant the motion to quash Paragraphs 10 and 12–14.

       1.      Paragraph 10

       In Paragraph 10 Pistotnik subpoenaed documents “that Refer To the line items shown on

[Xcentric’s invoice for $72,261.50] including any explanation of what each item consisted of or

how the dollar amount associated with each item was calculated.” The Court agrees with Pistotnik

that the Magistrate Judge’s ruling on Paragraphs 4 and 5 would logically dictate compliance with

Paragraph 10. It is unclear why the Magistrate Judge grouped Paragraph 10 with Paragraphs 12–

14, which subpoena documents relating to Xcentric’s cyber-defenses. Regardless, the Court sets

aside the Magistrate Judge’s ruling on Paragraph 10 but with two additional comments. First,

Paragraph 10 is sufficiently intertwined with what Xcentric was ordered to produce under

Paragraphs 4 and 5 that Xcentric may very well have complied with Paragraph 10 despite it being

quashed. In fact, in response to the Magistrate Judge’s order, Xcentric produced additional

invoices explaining at least one of the line items in Xcentric’s invoice. And second, Pistotnik has



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filed a motion to compel (Doc. 79), in which he argues that Xcentric failed to fully comply with

the Magistrate Judge’s order that Xcentric produce documents explaining Xcentric’s invoice for

$72,261.50. At the request of all interested parties, the Court is holding Pistotnik’s motion to

compel in abeyance, allowing the parties to negotiate a mutually agreeable resolution. The Court

anticipates that the parties’ negotiations on Pistotnik’s motion to compel would naturally address

Xcentric’s compliance with Paragraph 10.

         2.     Paragraphs 12–14

         In Paragraphs 12–14, Pistotnik subpoenaed documents regarding Xcentric’s cyber-

defenses. The Magistrate Judge granted the motion to quash these categories for two reasons.

First, the Magistrate Judge found such information to be irrelevant because comparative fault is

not a defense to the alleged crimes, so any weaknesses in Xcentric’s system would not excuse

Pistotnik’s actions. Second, the Magistrate Judge concluded that Pistotnik’s broad language made

the subpoena “read like standard documents requests sent in civil discovery,” but since Rule 17

cannot be used as a discovery device in criminal cases the request failed Nixon’s specificity

requirement. Pistotnik argues in response that Paragraphs 12–14 relate to Xcentric’s damages;

thus, Paragraphs 12–14 are simply subsets of Paragraphs 4 and 5 that the Magistrate Judge did not

quash.

         Upon review of Paragraphs 12–14, the Court holds that the Magistrate Judge’s decision to

quash these paragraphs was not clearly erroneous. Pistotnik’s subpoena seeks information about

Xcentric’s cyber-defenses that appear to be more detailed than is necessary to prove Xcentric’s

damages, which remains the only basis for the information’s relevance in this case. As the Court

alluded to at the May 6 hearing, the correct resolution to this dispute is likely a compromise

between what Pistotnik has requested and what Xcentric has provided. In the same way that


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Pistotnik is entitled to documents demonstrating a nexus between Xcentric’s claimed $72,261.50

in damages but is not entitled to know every detail of Xcentric’s post-attack security upgrades,

Pistotnik is also entitled to evidence that his alleged actions were capable of compromising

Xcentric’s computer systems even if he is not entitled to every detail of Xcentric’s prior cyber-

defenses.

       Considering the breadth of Pistotnik’s request for documents in Paragraphs 12–14, it was

not clearly erroneous for the Magistrate Judge to grant the motion to quash on relevancy grounds.

Nevertheless, the Court recognizes that there is likely some overlap between what was requested

in Paragraphs 12–14 and the proof of damages that Xcentric is required to produce under

Paragraphs 4 and 5. As discussed above, the Court is withholding its ruling on Pistotnik’s motion

to compel compliance with Paragraphs 4 and 5 to allow the parties to negotiate an acceptable

compromise. Although the Court does not find clear error with the Magistrate Judge’s order

granting the motion to quash Paragraphs 12-14, the Court anticipates that aspects of Paragraphs

12–14 may be relevant to demonstrating that Xcentric was actually harmed by Pistotnik’s alleged

crimes and would therefore need to be produced pursuant to Paragraphs 4 and 5. Thus, as the

parties seek their own resolution on Pistotnik’s motion to compel, the Court encourages the parties

to find an acceptable resolution on these issues as well. Otherwise, when ruling on Pistotnik’s

motion to compel compliance with Paragraphs 4 and 5, the Court will revisit this issue to determine

how much of Xcentric’s cyber-defenses must be revealed to Pistotnik to adequately demonstrate

Xcentric’s claim of damages.

C.     Pistotnik’s compliance with Rule 17(c)(3)

       Pistotnik has a valid objection to the Magistrate Judge’s determination that Pistotnik

blatantly disregarded Rule 17. Rule 17(c)(3) states that “a subpoena requiring the production of


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personal or confidential information about a victim may be served on a third party only by court

order.”19 On September 19, 2018, Pistotnik filed a motion with the Court to issue his subpoenas

to Xcentric and Chandler (Doc. 36); the Court contacted Pistotnik’s counsel by telephone to inform

counsel (erroneously) that the motion was unnecessary and that he could proceed. It is clear that

Pistotnik intended to comply with Rule 17’s requirement that his subpoenas be issued with the

Court’s permission. It is equally clear that the Court, not Pistotnik, is responsible for any

procedural shortcomings in this matter. As such, the Court concludes that any portion of the

Magistrate Judge’s order granting the motion to quash that relied exclusively on Pistotnik’s

noncompliance with Rule 17 should be set aside.

       Here, the Magistrate Judge noted that the Motion to Quash did not specifically address

Paragraphs 9, 11, and 15 in the subpoena to Xcentric or Paragraphs 1–4 and 6 in the subpoena to

Chandler. The Magistrate Judge noted that typically he “would find that a movant waived its

objections to categories of requested documents not discussed in a motion to quash a subpoena.”

However, the Magistrate Judge granted the motion to quash these paragraphs because of

Pistotnik’s perceived noncompliance with Rule 17(c)(3). Because Xcentric never objected to or

discussed Paragraph’s 9, 11, and 15, and because the only basis for granting the motion to quash

was the Rule 17 issue, the Court sets aside that portion of the Magistrate Judge’s order. For the

same reason, the Court also sets aside the Magistrate Judge’s order granting the motion to quash

Paragraphs 1–3 in the subpoena to Chandler.

       The Court does not, however, set aside the order quashing Paragraphs 4 and 6 of the

Chandler subpoena. Granted, Chandler’s motion to quash did not specifically mention Paragraphs


       19
            Fed. R. Crim. P. § 17(c)(3).



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4 and 6. But Paragraphs 4 and 6 in the Chandler subpoena—as well as Paragraph 5, which

Chandler did address in his motion to quash—are essentially the same as Paragraphs 12–14 in the

Xcentric subpoena, seeking information about Xcentric’s cyber-defenses. Additionally, Xcentric

and Chandler’s motion to quash specifically addressed Xcentric’s objections to Paragraphs 12–14,

stated that the subpoena to Chandler carried many of the same dangers as the subpoena to Xcentric,

and requested that the entire subpoena to Chandler be quashed. Accordingly, the Court concludes

that Paragraphs 4 and 6 were sufficiently addressed in Chandler’s motion to quash. Furthermore,

as the Court discussed above in its ruling on Paragraphs 12–14 in the Xcentric subpoena, Pistotnik

is entitled to evidence that his alleged actions caused Xcentric’s claimed damages, but he is not

entitled to know every detail about Xcentric’s cyber-defenses. The same flaws that are present in

Paragraphs 12–14 in the Xcentric subpoena are also present in Paragraphs 4–6 in the Chandler

subpoena. So, for the same reasons the Court denied Pistotnik’s request to set aside the Magistrate

Judge’s order on Paragraphs 12–14 to Xcentric, Pistotnik’s request to set aside the order quashing

Paragraphs 4–6 is also denied.

D.     Chandler subpoena Paragraphs 7 and 8

       Having already addressed Paragraphs 1–6 of the Chandler subpoena, only Paragraphs 7

and 8 remain to be considered. Turning first to Paragraph 7, Pistotnik argued at the May 6 hearing

that because Paragraph 7 in the Chandler subpoena is similar to Paragraph 15 in the Xcentric

subpoena, the Court’s ruling on Paragraph 15 should dictate the Court’s ruling on Paragraph 7.

The Court discerns two problems with that approach. First, the reason Xcentric has been ordered

to comply with Paragraph 15 is because Xcentric’s motion to quash never objected to that portion

of the subpoena, whereas Chandler did object to Paragraph 7. And second, Paragraph 15 in the

Xcentric subpoena is a much narrower request than Paragraph 7 in the Chandler subpoena.


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Paragraph 15 sought “[a]ll mail server or emailed-related log, reports, data, or analytics that Refer

To the emails received by ripoffreport.com at the time of the First Attack or the Second Attack.

The Court reads Paragraph 15 as requesting documents relating to the content and quantity of

emails that were sent to Ripoffreport in the “email bomb.” If Xcentric’s computer systems were

compromised and damaged because Xcentric was bombarded with a large quantity of emails, then

Pistotnik is entitled to documents explaining the number of emails Xcentric received. That is why

Paragraph 15 is relevant.

       By comparison, Paragraph 7 in the Chandler subpoena sought “[a]ll mail server or email-

related logs, reports, data, or analytics that Refer To email or web traffic received by Xcentric

Ventures, LLC, Ed Magedson, or RipOffReport.com in September of 2014 or July of 2015.”

Paragraph 7 is not limited to just the emails sent to RipOffReport.com during the two attacks.

Rather, Paragraph 7 broadly seeks all documents relating to emails and web traffic for the entire

months of September 2014 and July 2015. As such, Paragraph 7 goes beyond seeking relevant

documents and instead resembles an impermissible fishing expedition. For that reason, the Court

holds that Paragraph 7 in the Chandler subpoena should remain quashed.

       Finally, the Court considers Paragraph 8, where Pistotnik subpoenaed “[c]heck stubs,

transaction records, and other backup for any payments [Chandler] received from Xcentric

Ventures, LLC, Ed Magedson, or RipOffReport.com related to either the First Attack or the

Second Attack.” Chandler’s Motion to quash argued that some of the invoices it sent to Xcentric

contained information about Chandler’s security infrastructure that could compromise both

Chandler and Xcentric’s security if exposed to the public or the Defendants.

       The Court holds that Paragraph 8 is relevant to determining Xcentric’s damages.

Chandler’s concern with Paragraph 8 appears to be the same issue that Xcentric raised in response


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to Pistotnik’s motion to compel compliance with Paragraphs 4 and 5. The Magistrate Judge

ordered Xcentric to produce documentation explaining its claim of $72,261.50 in damages, and

Xcentric responded by providing several heavily redacted invoices. The redactions were intended

to protect the precise details of Chandler and Xcentric’s security infrastructure, but Pistotnik

argued in his motion to compel that the redactions rendered the invoices mostly useless. The Court

is postponing its ruling on the motion to compel to give the parties an opportunity to reach a

compromise. Presumably, any compromise would give Pistotnik enough information to determine

that Xcentric’s expenses were caused by Pistotnik’s alleged crimes but without endangering

Xcentric or Chandler’s systems to further attack. It is the Court’s impression that any compromise

the parties reach with regard to Pistotnik’s motion to compel would also apply to Paragraph 8. The

Court does not expect Chandler and Xcentric to expose its entire digital infrastructure, but the

Court holds that Pistotnik is entitled to the financial documents subpoenaed in Paragraph 8 to show

that Xcentric suffered actual harm from the alleged attack.

                                       IV.     Conclusion

       Defendant Pistotnik’s Motion for Reconsideration is granted in part and denied in part.

Specifically, the Court grants the request to set aside the Magistrate Judge’s order quashing

Paragraphs 9, 10, 11, and 15 of Pistotnik’s subpoena served on Xcentric and Paragraphs 1, 2, 3,

and 8 of Pistotnik’s subpoena served on Chandler. The Court denies the request to set aside the

Magistrate Judge’s ruling on Paragraphs 1, 2, 12, 13, and 14 of the Xcentric subpoena and

Paragraphs 4, 5, 6, and 7 of the Chandler subpoena.




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     IT IS THEREFORE ORDERED that Pistotnik’s Motion to Reconsider (Doc. 71) is

GRANTED IN PART and DENIED IN PART.

     IT IS SO ORDERED.

     Dated this 23rd day of May, 2019.




                                                ERIC F. MELGREN
                                                UNITED STATES DISTRICT JUDGE




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